Case 6:15-cv-02096-PGB-KRS Document 20 Filed 02/23/16 Page 1 of 2 PageID 71




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


KIMBERLY MAIER,

                    Plaintiff,

v.                                                  Case No: 6:15-cv-2096-Orl-40KRS

RAVAGO AMERICAS, LLC,

                    Defendant.
                                       /

                                       ORDER

      This cause is before the Court on the Joint Motion for Approval of Settlement (Doc.

16) filed on February 16, 2016. The United States Magistrate Judge has submitted a

report recommending that the motion be granted.

      After an independent de novo review of the record in this matter, and noting that a

Joint Notice of Non-Objection to Report and Recommendation (Doc. 19) was filed, the

Court agrees entirely with the findings of fact and conclusions of law in the Report and

Recommendation.

      Therefore, it is ORDERED as follows:

      1.     The Report and Recommendation filed February 18, 2016 (Doc. 18), is

ADOPTED and CONFIRMED and made a part of this Order.

      2.     The Joint Motion for Approval of Settlement (Doc. 16) is GRANTED.

      3.     The Court FINDS that the parties’ settlement agreement (Doc. 16-1) is a fair

and reasonable resolution of a bona fide dispute under the FLSA.

      4.     The Court DECLINES to retain jurisdiction to enforce the settlement

agreement.
Case 6:15-cv-02096-PGB-KRS Document 20 Filed 02/23/16 Page 2 of 2 PageID 72




      5.     The case is DISMISSED with prejudice.

      6.     The Clerk is DIRECTED to close the file.

      DONE AND ORDERED in Orlando, Florida on February 23, 2016.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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